                Case 2:10-cr-00365-JCM-PAL                           Document 206                Filed 03/30/15               Page 1 of 2
AO 247 (Rev. 11/11) Order Regarding Motion/Stipulation for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)   Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                                   District of Nevada

                    United States of America
                               v.                                             )
                            EHAB LEONE
                                                                              )
                                                                              )    Case No:        2:10-CR-0365-JCM-PAL
                                                                              )    USM No: 45183-048
Date of Original Judgment:                              02/24/2012            )
Date of Previous Amended Judgment:                                            )    JAMES LEAVITT
(Use Date of Last Amended Judgment if Any)                                         Defendant’s Attorney


    ORDER REGARDING MOTION/STIPULATION FOR SENTENCE REDUCTION
                   PURSUANT TO 18 U.S.C. § 3582(c)(2)
   Upon motion/stipulation of   ✔ the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
                DENIED.               ✔
                                        GRANTED and the defendant’s previously imposed sentence of imprisonment (as
reflected in the last judgment issued) of 78               months is reduced to 63 months                         .
                                               (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                                 02/24/2012                 shall remain in effect.
IT IS SO ORDERED.
                     March 30, 2015
Order Date:
                                                                                                          Judge’s signature


Effective Date:               11/01/2015                                                   James C. Mahan, U.S. District Judge
                      (if different from order date)                                                   Printed name and title


                                                                                                                                           (Rev. for NVD 02/15)
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                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)

DEFENDANT:                EHAB LEONE
CASE NUMBER: 2:10-CR-0365-JCM-PAL
DISTRICT:       District of Nevada


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 31                Amended Total Offense Level: 29
Criminal History Category:    I                 Criminal History Category:   I
Previous Guideline Range:     108 to 135 months Amended Guideline Range:     87                                                         to 108        months

II. SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
  ✔
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
    time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
    is comparably less than the amended guideline range.
   The reduced sentence is above the amended guideline range.

III. ADDITIONAL COMMENTS




                      March 30, 2015
Date Approved:
                                                                        United States District Judge




                                                                                                                                            (Rev. for NVD 02/15)
